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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )           CASE NO. 8:04CR262
                                             )
                     Plaintiff,              )
                                             )
       vs.                                   )                   ORDER
                                             )
BRANDY K. BRENTON,                           )
                                             )
                     Defendant.              )

       This matter is before the Court on the Defendant’s Motion for New Trial (Filing No.

73).

       After careful consideration,

       IT IS ORDERED that the Defendant’s Motion for New Trial (Filing No. 73) is denied.

       DATED this 9th day of May, 2005.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 Laurie Smith Camp
                                                 United States District Judge
